CaSe 2:04-cV-02868-.]P|\/|-de Document 83 Filed 08/29/05 Page 1 of 3 Page|D 897

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UNITED STATES DISTRICT COURT ` '
FOR THE WESTERN DISTRICT oF TENNESSE]§.05 AUG 29 PH 1,= 33

 
    

 

  

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FEDEX CoRPoRATIoN, et ai., 5
Plaintiffs,
v. No. 2:04-cv-02868-JPM-DKV

THOMAS F. DONALDSON, JR.,

Defendant. JURY DEMANDED

 

ORDER ON MOTION TO WITHDRAW AND SUBSTITUTE COUNSEL

 

This matter is before the Court on the motion of Robert L. Moore and Heaton &
Moore, P.C. for leave to Withdraw as counsel for Defendant Thomas F. Donaldson,
Jr. in this action. The Court being advised in the premises, and it appearing that
the motion is well'taken,

IT IS HEREBY ORDERED that Robert L. Moore and Heaton & Moore, P.C. be
granted leave to Withdraw as counsel for Defendant Thomas F. Donaldson, Jr. in

this aetion.

Dated @YMY_, 2005.
»<@MW ></ /ZWW"

UNITED STATES BWNAGISTMTE JUDGE

 

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Notice of Distribution

This notice confirms a copy of the document docketed as number 83 in
case 2:04-CV-02868 Was distributed by faX, mail, or direct printing on
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